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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


UNITED STATES OF AMERICA,                   )
                                            )
              v.                            )       Case No. 1:21-cr-00245-AJT
                                            )
IGOR Y. DANCHENKO,                          )
                                            )
                      Defendant.            )

 DEFENDANT IGOR DANCHENKO’S OPPOSITION TO THE SPECIAL COUNSEL’S
  SECOND MOTION FOR EXTENSION TO PRODUCE CLASSIFIED DISCOVERY

       Defendant Igor Danchenko, by and through counsel, hereby files his opposition to the

Special Counsel’s motion for an extension of the deadline by which he must produce classified

discovery. Dkt. 48. In support of his opposition, Mr. Danchenko provides the following:

   1. The Special Counsel chose to seek the return of Mr. Danchenko’s indictment on November

       3, 2021. Dkt. 1.

   2. On November 10, 2021, the Special Counsel agreed to a trial date of April 18, 2022. Dkt.

       13 (Minute Entry). Presumably, the Special Counsel would not have agreed to a trial date

       that would not have allowed him to comply with his discovery obligations.

   3. On December 23, 2021, the Special Counsel filed his first motion proposing a classified

       discovery and CIPA schedule. Dkt. 36. In his motion, the Special Counsel self-imposed a

       March 29, 2022, deadline for the production of classified discovery. Id. at 1. The Special

       Counsel further proposed a CIPA schedule that provided Mr. Danchenko approximately

       60 days from the deadline for the production of classified discovery to provide his CIPA

       Section 5(a) written notice. See id. (providing a May 27, 2022, deadline for Defendant’s

       Section 5(a) written notice).



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4. On January 12, 2022, the Court continued the previously scheduled April 18, 2022, trial

   date to October 11, 2022. In addition, the Court entered an Order adopting the Special

   Counsel’s proposed schedule, without objection by Mr. Danchenko. Dkt. 40.

5. On March 22, 2022, the Special Counsel filed a Consent Motion to Adjourn the Classified

   Discovery and CIPA Schedule. Dkt. 44. In his Motion, the Special Counsel sought to

   extend the deadline to produce classified discovery from March 29, 2022, to May 13, 2022.

   Id. at 2. The Special Counsel’s motion also sought to extend the dates for various CIPA

   filings and hearings. Id. Importantly, the Special Counsel’s proposed schedule reduced

   the amount of time within which Mr. Danchenko had to file his Section 5(a) written notice

   from approximately 60 days after the close of classified discovery to approximately 40

   days. See id. at 2 (providing a deadline of June 22, 2022, for Defendant’s Section 5(a)

   written notice).

6. As noted, Mr. Danchenko consented to the Special Counsel’s motion to extend the

   discovery deadline and the related CIPA deadlines. But Mr. Danchenko did so only with

   the belief and understanding that the Special Counsel would hold true to his word and

   produce all classified discovery “no later than” May 13, 2022. See id. at 2 (“Nevertheless,

   the government will produce a large volume of classified discovery this week and will

   continue its efforts to produce documents in classified discovery on a rolling basis, and no

   later than the proposed deadlines set forth below.”) (Emphasis added). The Court

   granted the Special Counsel’s motion. Dkt. 45.

7. On May 9, 2022, the Special Counsel filed his Second Motion to Adjourn the Classified

   Discovery and CIPA Schedule. Dkt. 48. In his motion, the Special Counsel now tells the

   Court that he can provide the outstanding classified discovery by “no later than” June 13,



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   2022. See id. at 2. He also proposes a June 29, 2022, deadline for Defendant’s Section

   5(a) written notice. Id. Therefore, the Special Counsel has essentially asked this Court to

   enter an Order that will now decrease Mr. Danchenko’s time within which to file his

   Section 5(a) written notice from approximately 40 days after the close of classified

   discovery to approximately 22 days.

8. The Court should deny the Special Counsel’s second motion to extend the classified

   production deadline and related CIPA filings deadlines because he has failed to make an

   adequate showing that he has been diligent in meeting his own proposed deadlines and his

   own promises to produce all classified discovery “no later than” the dates he himself

   previously requested. Moreover, the Special Counsel has failed to adequately explain how

   “recent world events” (Dkt. 48 at 2) have specifically made it impossible for him to meet

   his discovery obligations. While it seems unlikely that the same government officials

   charged with declassifying discovery are also responding to events overseas, it certainly is

   possible. But, even if that is the case, the Special Counsel must offer more explanation

   than he has, especially in light of the fact that his prior motion to extend the discovery

   deadline was based on the events in Ukraine, and the ongoing nature of that conflict must

   or should have been considered when he requested the May 13 deadline.

9. Simply put, the Special Counsel should not have indicted Mr. Danchenko if he was not

   prepared to meet his discovery obligations in a timely fashion. Indeed, there was no need

   or rush to indict Mr. Danchenko in November of 2021. The offense dates for the five

   counts charged in the November 3, 2021, Indictment all occurred between March and

   November of 2017. See Dkt. 1 at 37-39 (providing offense dates of June 15, 2017 (Count

   1), March 16, 2017 (Count 2), May 18, 2017 (Count 3), October 27, 2017 (Count 4), and



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       November 16, 2017 (Count 5)). Therefore, the Special Counsel had until at least March

       16, 2022, to return an indictment in order to preserve his ability to prosecute all five counts.

   10. Moreover, the Special Counsel presumably believed, as early as November 10, 2021, that

       he could provide Mr. Danchenko with classified discovery well in advance of his then

       scheduled April 18, 2022, trial date.

   11. Most importantly, Mr. Danchenko would be substantially prejudiced by the Special

       Counsel’s proposed schedule because it significantly shortens the time period within which

       Mr. Danchenko can review any final classified productions and file his CIPA Section 5(a)

       notice. That is of particular concern to Mr. Danchenko because the Special Counsel has

       not provided sufficient notice of how much additional classified discovery may be

       forthcoming other than his “belie[f]” that the “bulk” of the classified discovery has already

       been produced. See Dkt. 48 at 1.

       WHEREFORE based on the foregoing reasons, undersigned counsel respectfully asks this

Honorable Court to deny the Special Counsel’s motion. Mr. Danchenko will seek an appropriate

remedy from the Court should the Special Counsel fail to comply with the May 13, 2022, deadline

for producing classified discovery.


Dated: May 12, 2022                            Respectfully submitted,


                                                       /s/ Stuart Sears
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of May, 2022, I electronically filed a true copy of the

foregoing motion with the Clerk of Court using the CM/ECF system, which will send a notification

of such filing (NEF) to all parties.


                                                     /s/ Stuart Sears
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